      Case 9:19-cv-80893-RKA Document 3 Entered on FLSD Docket 07/09/2019 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                   Southern District
                                                   __________        of Florida
                                                               District  of __________

                         Laura Loomer                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 9:19-cv-80893
                                                                     )
                         Facebook Inc.                               )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Facebook, Inc.
                                           1 Hacker Way
                                           Menlo Park, CA, 94025




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Klayman Law Group P.A.
                                           Larry Klayman, Esq.
                                           7050 W. Palmetto Park Road #15-287
                                           Boca Raton, FL, 33433



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
          Jul 9, 2019
                                                                                          Signature of Clerk or Deputy Clerk

                                                                                                               s/ Esperanza Buchhorst
